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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 JASON HITT
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00064 JAM
12                                 Plaintiff,            STIPULATION REGARDING USE OF
                                                         VIDEOCONFERENCING DURING JUDGMENT &
13                          v.                           SENTENCING HEARING; FINDINGS AND
                                                         ORDER
14   RUTH KELLNER,
                                                         DATE: June 9, 2020
15                                Defendant.             TIME: 9:15 a.m.
                                                         COURT: Hon. John A. Mendez
16

17                                               BACKGROUND
18          On November 5, 2019, the Court accepted defendant’s guilty plea to Count Four of the
19 Indictment in this case. PSR ¶ 1. Count Four charged her with possession with intent to distribute

20 methamphetamine in violation of 21 U.S.C. § 841(a)(1). PSR ¶ 1.

21          On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security Act
22 (“CARES Act”). The CARES Act empowered the Judicial Conference of the United States and Chief

23 District Judges to authorize sentencing by video or telephonic conference when 1) such hearings “cannot

24 be conducted in person without seriously jeopardizing public health and safety;” and 2) “the district

25 judge in a particular case finds for specific reasons that the plea or sentencing in that case cannot be

26 further delayed without serious harm to the interests of justice.” Id., Pub. L. 116-23 § 15002(b)(2).

27          On March 29, 2020, the Judicial Conference of the United States made the findings required by
28 the CARES Act, concluding that “emergency conditions due to the national emergency declared by the

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 1 President under the National Emergencies Act (50 U.S.C. § 1601, et seq.) with respect to . . . [COVID-

 2 19] have materially affected and will materially affect the functioning of the federal courts generally.”

 3          On March 30, 2020, the Chief Judge of this District, per General Order 614, also made the

 4 findings required by the CARES Act: “[F]elony pleas under Rule 11 of the Federal Rules of Criminal

 5 Procedure and felony sentencings under Rule 32 of the Federal Rules of Criminal Procedure cannot be

 6 conducted in person without seriously jeopardizing public health and safety.” Accordingly, the findings

 7 of the Judicial Conference and General Order 614 establish that sentencings cannot take safely take

 8 place in person.

 9           In order to authorize sentencing hearings by remote means, however, the CARES Act—as

10 implemented by General Order 614—also requires district courts in individual cases to “find, for

11 specific reasons, that felony pleas or sentencings in those cases cannot be further delayed without

12 serious harm to the interests of justice.” General Order 614 further requires that the defendant consent

13 to remote proceedings. Finally, the remote proceeding must be conducted by videoconference unless

14 “videoconferencing is not reasonably available.” In such cases, district courts may conduct hearings by

15 teleconference.

16          The parties hereby stipulate and agree that each of the requirements of the CARES Act and

17 General Order 614 have been satisfied in this case. They request that the Court enter an order making

18 the specific findings required by the CARES Act and General Order 614. Specifically, for the reasons

19 further set forth below, the parties agree that:

20          1)      The judgment & sentencing hearing in this case cannot be further delayed without serious

21 harm to the interest of justice, given the public health restrictions on physical contact and court closures

22 existing in the Eastern District of California and the Sentencing Guidelines range recommended by

23 defendant and the government;

24          2)      The defendant waives her physical presence at the hearing and consents to remote

25 hearing by Videoconference.

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 1                                                STIPULATION

 2          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 3 through defendant’s counsel of record, hereby stipulate as follows:

 4          1.      The Governor of the State of California declared a Proclamation of a State of Emergency

 5 to exist in California on March 4, 2020.

 6          2.      On March 13, 2020, the President of the United States issued a proclamation declaring a

 7 National Emergency in response to the COVID-19 pandemic.

 8          3.      In their continuing guidance, the Centers for Disease Control and Prevention (CDC) and

 9 other public health authorities have suggested the public avoid social gatherings in groups of more than

10 10 people and practice physical distancing (within about six feet) between individuals to potentially

11 slow the spread of COVID-19. The virus is thought to spread mainly from person-to-person contact,

12 and no vaccine currently exists.

13          4.      These social distancing guidelines – which are essential to combatting the virus – are

14 generally not compatible with holding in-person court hearings.

15          5.      On March 17, 2020, this Court issued General Order 611, noting the President and

16 Governor of California’s emergency declarations and CDC guidance, and indicating that public health

17 authorities within the Eastern District had taken measures to limit the size of gatherings and practice

18 social distancing. The Order suspended all jury trials in the Eastern District of California scheduled to

19 commence before May 1, 2020.

20          6.      On March 18, 2020, General Order 612 issued. The Order closed each of the courthouses

21 in the Eastern District of California to the public. It further authorized assigned district court judges to

22 continue criminal matters after May 1, 2020 and excluded time under the Speedy Trial Act. General

23 Order 612 incorporated General Order 611’s findings regarding the health dangers posed by the

24 pandemic.

25          7.      On April 16, 2020, the Judicial Council of the Ninth Circuit declared a judicial

26 emergency in this District pursuant to 18 U.S.C. § 3174(d), based on the District’s “critically low

27 resources across its heavy caseload.” The report accompanying the Judicial Council’s declaration

28 analyzed the public safety dangers associated with the COVID-19 pandemic and examined both the

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 1 District’s caseload (the District currently ranks first in the Ninth Circuit and eighth nationally in

 2 weighted filings) and its shortage of judicial resources (the District is currently authorized only six

 3 district judges; two of those positions are currently vacant and without nominations). The report further

 4 explained that a backlog of cases exists that “can only start to be alleviated” when the CDC lifts its

 5 guidance regarding gatherings of individuals.

 6          8.      On April 17, 2020, General Order 617 issued, continuing court closures through June 1,

 7 2020 and authorizing further continuances of hearings and exclusions under the Speedy Trial Act. On

 8 May 13, 2020, this Court issued General Order 618, which continued court closures and authorized

 9 further continuances of hearings beyond June 1, 2020, “until further notice.” It further authorized

10 district courts to “order case-by-case exceptions to any of the above numbered provisions at the

11 discretion of that Judge or upon the request of counsel, after consultation with counsel and the Clerk of

12 the Court to the extent such an order will impact court staff and operations.”

13          9.      Given these facts, it is essential that Judges in this District resolve as many matters as

14 possible via videoconference and teleconference during the COVID-19 pandemic. By holding these

15 hearings now, this District will be in a better position to work through the backlog of criminal and civil

16 matters once in-person hearings resume.

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 1          10.     The judgment & sentencing hearing in this case accordingly cannot be further delayed

 2 without serious harm to the interests of justice. If the Court were to delay this hearing until it can be

 3 held in-person, it would only add to the enormous backlog of criminal and civil matters facing this

 4 Court, and every Judge in this District, when normal operations resume.

 5          11.     The defendant in this case consents to proceed with her judgment & sentencing hearing

 6 by Videoconference.

 7          IT IS SO STIPULATED.

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 9   Dated: June 1, 2020                                      MCGREGOR W. SCOTT
                                                              United States Attorney
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11                                                            /s/ Jason Hitt
                                                              JASON HITT
12                                                            Assistant United States Attorney

13

14   Dated: June 1, 2020                                      /s/ Chris Cosca
                                                              CHRIS COSCA, Esq.
15                                                            Counsel for Defendant
                                                              RUTH KELLNER
16                                                            Authorized to sign for Mr. Cosca
                                                              on June 1, 2020
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 1                                          FINDINGS AND ORDER

 2          1.     The Court adopts the findings above.

 3          2.     Further, the Court specifically finds that:

 4                 a)      The judgment & sentencing hearing in this case cannot be further delayed without

 5 serious harm to the interest of justice; and

 6                 b)      The defendant has waived her physical presence at the hearing and consents to

 7 remote hearing by Videoconference.

 8          3.     Therefore, based on the findings above, and under the Court’s authority under § 15002(b)

 9 of the CARES Act and General Order 614, the judgment & sentencing hearing in this case will be

10 conducted by Videoconference.

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12 IT IS SO FOUND AND ORDERED this 2nd day of June, 2020.

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                                                       /s/ John A. Mendez
14                                                     JOHN A. MENDEZ
                                                       UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION REGARDING JUDGMENT & SENTENCING        6
      HEARING
